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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MARYLAND
                           (Northern Division)

MAYOR AND CITY COUNCIL                  )
OF BALTIMORE CITY, A                    )
MUNICIPAL CORPORATION, et               )
al.,                                    ) CIVIL ACTION FILE NO.
                                        ) 1:16-cv-03486-ELH
       Plaintiffs / Counterclaim        )
       Defendants,                      )
                                        )
v.                                      )
                                        )
BROOKE ALLEN, et al.,                   )
                                        )
       Defendants / Counterclaim        )
       Plaintiffs.                      )

     LOCAL RULE 103.3 STATEMENT OF CORPORATE AFFILIATIONS
       AND FINANCIAL INTEREST OF WHAT WORKS STUDIO, LLC

       Defendant / Counterclaim Plaintiff What Works Studio, LLC (“WWS”)

through counsel and pursuant to Local Rule 103.3hereby states that: (i) it does not

have any affiliates; (ii) the sole member of WWS is Brooke Allen; and (iii) there

are no other corporations, unincorporated associations, partnerships, or other

business entities, not a party to the case, which have any financial interest

whatsoever in the outcome of the litigation.

       Respectfully submitted this 11th day of November, 2016.
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                                  WOMBLE CARLYLE SANDRIDGE &
                                  RICE, LLP

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                        CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed the foregoing document with the

Clerk of Court using the CM/ECF system which will send notification of such

filing to the following CM/ECF participants:

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      This 11th day of November, 2016.


                                     WOMBLE CARLYLE SANDRIDGE &
                                     RICE, LLP

                                     /s/ Julie A. Hopkins
                                     Fed. Bar. No. 28025
